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                         IN THE UNITED STATES DISTRICT COURT            S A.. ..- ^--.H DlV.
                       FOR THE SOUTHERN DISTRICT OF GEORGIA         .    M-r oq           in- IR
                                 SAVANNAH DIVISION                                  ATIO- lb
UNITED STATES OF AMERICA

       vs.                                     CASE NO. 4:18CR147

BARRON ROBERTSON,
      Defendant



                   ORDER GRANTING MOTION FOR LEAVE OF ABSENCE

      The Court, having considered counsel for Defendant's Motion for Leave of

Absence in the above-referenced case, for the stated period of August 26, 2019,

through September 3, 2019 and October 14, 20019 through October 22, 2019, for the

purpose of personal vacation, does hereby GRANT said Motion for Leave of Absence.

      SO ORDERED, this                                              2019.




                         r^^'^f^'ftJudge, Christopher L. Ray
                                 United States District Court
                                 Southern District of Georgia
                                 Savannah Division
Prepared by:
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